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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY




 C. TATE GEORGE

         V.                                           Civ. No. 17-2641 (AET)

 UNITED STATES OF AMERICA


      RESPONSE TO MOTION TO AMEND PETITIONER’S VACATE, SET ASIDE OR
             CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

      Petitioner C. Tate George has filed yet another motion in yet another forum

in yet another baseless attempt to vacate his convictions for wire fraud. This time,

the motion has been construed as a motion to amend Petitioner’s original § 2255

petition. (The instant motion was construed as such by this Court after Petitioner

attempted to file a separate petition pursuant to 28 U.S.C. § 2241, see Dkt. No. 52).

Petitioner’s latest salvo should be rejected by this Court.

      In his initial petition, Petitioner simply repackaged the original claims he

made on direct appeal into “ineffective assistance” claims, which were already

litigated (and rejected) by the Court of Appeals.    Now, Petitioner has yet again

repackaged the same complaints into another, seemingly different, vessel: a so-

called Guidelines calculation error and a complaint about the Pre-Sentence Report.

Undergirding these claims, though, are the exact same complaints that he put forth

both on direct appeal and in his original 2255 Petition, regarding the fulsomeness of

his attorney’s preparation and a so-called “forensic business report.”

      Because Petitioner is not actually making any new claims, the Government

will respectfully rely on its initial Response to Petitioner’s Petition.   If the Court
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wishes for additional briefing by the Government, the Government will of course be

happy to provide it. At long last, the court system should be finished with this

matter – more than seven years in the making.      This Court should deny

Petitioner’s § 2255 motion without a hearing.

                                                Respectfully submitted,

                                                CRAIG CARPENITO
                                                UNITED STATES ATTORNEY


                                                S/ Zach Intrater
                                       By:      Zach Intrater
                                                Assistant U.S. Attorney



Date: May 12, 2019




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                              CERTIFICATION OF SERVICE

      I hereby certify that on August 24, 2018, I caused a copy of this response to
be served by first class mail, postage pre-paid, upon:

        C. Tate George, pro se
        Reg. No. 63223-050
        FCI Allenwood Low
        Federal Correctional Institution
        P.O. Box 1000




                                               Zach Intrater
                                              _________________________
                                              Zach Intrater
                                              Assistant U.S. Attorney

Dated: August 24, 2018
